
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by Plaintiff on the 23rd of June 2016 in this matter pursuant to G.S. 7A-30 (substantial constitutional question), the following order was entered and is hereby certified to the North Carolina Court of Appeals: the notice of appeal is
"Dismissed Ex Mero Motu by order of the Court in conference, this the 16th of March 2017."
Upon consideration of the petition filed on the 23rd of June 2016 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 16th of March 2017."
